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Greer A. Smith MSN,RN,CMSRN,CCM
Assurance of Care                                                                      INVOICE
8181 Midtown Blvd. Ste 7109
Dallas, TX 75231
469-718-9112
Greersmith1@gmail.com


TO:                                                                      Rates:
Craig Davis, Attorney at Law for Debtor            Hourly for PCO @ 125.00 / Hour
      DR. SHABNAM QASIM, M.D., P.A.,               Hourly for PCO Asst @ 75.00 / Hour
         Case No. 18-43088-mxm-11                  Copies @ .20 per copy
FOR:                                               Faxes @ .20 per page
      DR. SHABNAM QASIM, M.D., P.A.,               Postage @ cost 1st class/Fed Ex Cost Factor
         Case No. 18-43088-mxm-11                  Mileage @ .55 per mile
                                                   PACER Prints @ 1.60 page
  DATE                     DESCRIPTION                         HOURS/     RATE         TOTAL
                                                               NUMBER
09/16/17     Prep of Fee Schedule for Debtor                 .50               125         62.50
09/18/18     PACER printing                                  8                 1.60        12.80

09/19/18     Emails to Debtor Atty Craig RT fee, MD          1.2               125        150.00
             requests
09/19/18     Prep of PCO Assistant Fee Profile & Notice      .8                125        100.00
             of PCO assign for MD office
9/20/18      Read, make notes on all BR case filings         .6                125         75.00
             relevant to my work from Pacer
9/26/18      Email correspondence with Casey Roy and         .45               125         56.25
             Sarah Tuthill
9/27/18      Phone call with Sarah Tuthill Tx Medical        .22               125         27.50
             Board
9/27/18      Travel time to Dr. Qasim office @ ½ rate        1.5              62.50        93.75
9/27/18      RT Mileage to Qasim Office                      106                .56        59.36
9/27/18      2 Picture frames for Qasim Office Posting       2                5..99        11.98
9/27/18      Phone Calls with Adrian from Dr. Qasim          .40               125         50.00
9/27/18      Pacer Document Retrv fees                       2                 5.05        10.10
9/27/18      Emails to Casey Roy, Katheryn, and Sarah        .55               125         68.75
             Tuthill RT Qasim office issues
9/28/18      Printing copies of correspondence               32                 .20         6.40
             RT Mileage to Qasim office for evaluation       106                .56        59.36
10/5/18      Travel time to Dr. Qasim office @ ½ rate        1.5              62.50        93.75
10/5/18      Evaluation of Office, interview of office Adm   3.6               125          450
             Adrian, talk to Dr. Qasim, evaluate patient
             list, evaluate pain medication patients list,
             evaluate current and past employees list.
             0815 to 1200
10/6/18      Review, further evaluation for future office    .6                125         75.00
             employee interviews, patient phone call
             interviews planning.
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 10/6/2018     Phone call interviews with current patients,   1.3                     125      162.50
               previous patients, and former employees
 10/7/18       Research on ECF filing for Compensation        1.0                     125      125.00
 10/29/2018    Conversation with Adrian, former office        .7                      125       87.50
               Administrator with notes
 10/30/18      Emails to C Roy, Elizabeth White, S Tuthill    .3                      125       37.50
 10/31/18      Email with inquiry to Sarah Tuthill Tx         .3                      125       37.50
               Medical Board
 10/31/2018    Prep of Motion for Compensation w order,       1.4                     125      175.00
               Notice of 1st PCO report w order, and
               research on ECF process for filing
 11/05/2018    Prep of 1st PCO Report to Court                1.6                     125      200.00
 11/05/2018    Filing of 1st PCO Report and Request for       .6                      125       75.00
               Compensation

 10/8/18       Current Total Due                                                            $2,362.50

Make all checks payable to Greer A. Smith MSN,RN,CMSRN,CCM
Total due in 15 days. Overdue accounts subject to a service charge of 1% per month.


                                   Thank you for your business!
